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                                                  Court-Appointed Temporary Receiver for Link Motion Inc.
                                                  Pursuant to The Honorable Judge Victor Marrero of the
                                                  United States District Court, Southern District of New York
______________________________________________________________________________________

322 Eighth Avenue, Suite 1704
New York, New York 10001
Tel: (212) 523 - 0686
Email: rseiden@seidenlawgroup.com

VIA ECF

Hon. Debra C. Freeman
United States Courthouse
Southern District of New York
500 Pearl Street, Suite 1040
New York, New York 10007

March 3, 2022


       Re:      Interim Status Report of the Temporary Court-Appointed Receiver of
                Link Motion Inc. in the matter of Baliga v. Link Motion Inc. et al.,
                1:18-cv-11642 (S.D.N.Y.) (VM) (DCF)

Dear Magistrate Judge Freeman:

       Pursuant to Judge Marrero’s February 1, 2019 Order (ECF 26) (“Order”), I write to
submit an additional status report in connection with the Receivership’s continued efforts.

        As I indicated in my February 3, 2022 status report (ECF 268), on February 7, 2022,
the Receiver, by its Cayman Islands counsel, KSG Attorneys at Law, filed an application
in the Grand Court of Cayman Islands, Financial Services Division (the “Cayman Grand
Court”), requesting approval to call an Extraordinary General Meeting (“EGM”) in
accordance with Link Motion Inc.’s (the “Company’s) bylaws, Cayman law, and the
Receiver’s powers, authority, and duty. On February 23, 2022, the Cayman Grand Court
approved the Receiver’s application. A copy of the Grand Court’s Order is attached as
Exhibit A. The Receiver plans to send notice of the EGM in accordance with the
Company’s bylaws.

       Please do not hesitate to contact me via email or telephone if your honor wishes to
discuss this request in more detail.

Respectfully submitted,



Robert W. Seiden, Esq.
Court-Appointed Temporary Receiver for
Link Motion Inc.
